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                                  DECLARATION OF s111m11A II. BA I)
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          l.            I submit this dccluralion in surport of' the motion or Robert T. Smith for my

admission lo pru·ticc pm hac: vic:e in the ilhovc cartioncd mailer.

          2.            My f'ull name is Sheehan 11. 13and. I ilm an attorney ol' the law lirm Katt ·n

Muchin Roscnmun 1,1,P, 525 West Monror..: Stn..:cl,                    'hicago, lllinoi. 60(,61. My tdr..:phonc

number is (312) 902-5200.

                        I urn u rnr..:mbcr in good standing or th1.: Illinois bur.

          4.            I have never been discirlincd by uny bar and there arc no pending disciplin 1

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been denied au mission to the r..:ourts or uny stutc or uny 1.:otirl or th· Unit ·<l Slut·s.

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